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No. 29-1591

Atlas Data Privacy Corporation, et al. yg, DarkOwl, LLC, et al.

ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:

DarkOwl, LLC

Indicate the party’s role IN THIS COURT (check only one):

Petitioner(s) v Appellant(s) Intervenor(s)

Respondent(s) Appellee(s) Amicus Curiae

(Type or Print) Counsel’s Name Kelly Purcaro

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Additional E-Mail Address (2)
Additional E-Mail Address (3)

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SIGNATURE OF COUNSEL: /S/ Kelly Purcaro

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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney

Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REY. 10/20/2020
